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                  United States Court of Appeals
                                FIFTH CIRCUIT
                             OFFICE OF THE CLERK
LYLE W. CAYCE                                               TEL. 504-310-7700
CLERK                                                    600 S. MAESTRI PLACE,
                                                                 Suite 115
                                                        NEW ORLEANS, LA 70130

                             July 12, 2021
MEMORANDUM TO COUNSEL OR PARTIES LISTED BELOW:
      No. 21-10449    NexPoint v. Highland Capital Mgmt
                      USDC No. 19-34054
                      USDC No. 3:21-CV-538

Enclosed is an order entered in this case.


                                 Sincerely,
                                 LYLE W. CAYCE, Clerk

                                 By: _________________________
                                 Lisa E. Ferrara, Deputy Clerk
                                 504-310-7675
Mr.   Zachery Z. Annable
Mr.   Bryan Christopher Assink
Mr.   Robert P. Colwell
Mr.   Douglas Scott Draper
Mr.   David R. Fine
Ms.   Melissa Sue Hayward
Ms.   Karen S. Mitchell
Mr.   Jeffrey N. Pomerantz
Mr.   Davor Rukavina
Mr.   Clay Marshall Taylor
Mr.   Julian Preston Vasek
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           United States Court of Appeals
                for the Fifth Circuit
                              ___________

                               No. 21-10449
                              ___________

    In the Matter of: Highland Capital Management, L.P.

                                                                   Debtor,

    NexPoint Advisors, L.P.; Highland Capital Management
    Fund Advisors, L.P.; Highland Income Fund; NexPoint
    Strategic Opportunities Fund; Highland Global
    Allocation Fund; NexPoint Capital, Incorporated;
    James Dondero; The Dugaboy Investment Trust; Get
    Good Trust,

                                                                Appellants,

                                   versus

    Highland Capital Management, L.P.,

                                                                  Appellee.
                 ______________________________

               Appeal from the United States Bankruptcy Court
                      for the Northern District of Texas
                             USDC No. 19-34054
                           USDC No. 3:21-CV-538
                ______________________________

    ORDER:
          IT IS ORDERED that appellee’s motion to supplement the record
    with sealed documents from the bankruptcy court is GRANTED.
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                               No. 21-10449




                                       /s/ James L. Dennis
                                 James L. Dennis
                                 United States Circuit Judge




                                    2
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                             Case No. 21-10449
  ____________________________________________________________
          IN THE UNITED STATES COURT OF APPEALS
                    FOR THE FIFTH CIRCUIT
  ____________________________________________________________

    In the Matter of:   Highland Capital Management, L.P.,

    Debtor.

    NexPoint Advisors, L.P.; Highland Capital Management Fund
    Advisors, L.P.; Highland Income Fund; NexPoint Strategic
    Opportunities Fund; Highland Global Allocation Fund; NexPoint
    Capital, Incorporated; James Dondero; The Dugaboy Investment
    Trust; Get Good Trust,

                        Appellants,

    v.

    Highland Capital Management, L.P.,

                        Appellee.
  ____________________________________________________________
  On Direct Appeal from the United States Bankruptcy Court for the Northern
   District of Texas, Dallas Division, Bankruptcy Case No. 19-34054-SGJ11
    The Honorable Stacey G. C. Jernigan, United States Bankruptcy Judge


 DEBTOR’S MOTION TO SUPPLEMENT THE RECORD ON APPEAL
 Case: 21-10449    Document: 00515933141 Page: 2 Date Filed: 07/12/2021
Case 3:21-cv-00538-N Document 28 Filed 07/12/21 Page 5 of 27 PageID 17482



                           PACHULSKI STANG ZIEHL & JONES LLP

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                           Ira D. Kharasch (CA Bar No. 109084)
                           John A. Morris (NY Bar No. 266326)
                           Gregory V. Demo (NY Bar No. 5371992)
                           Hayley R. Winograd (NY Bar No. 5612569)
                           10100 Santa Monica Blvd., 13th Floor
                           Los Angeles, CA 90067
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                           Facsimile: (310) 201-0760
                           Email:       jpomerantz@pszjlaw.com
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                                        jmorris@pszjlaw.com
                                        gdemo@pszjlaw.com
                                        hwinograd@pszjlaw.com

                           -and-

                           HAYWARD PLLC

                           /s/ Zachery Z. Annable
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                           MHayward@HaywardFirm.com
                           Zachery Z. Annable
                           Texas Bar No. 24053075
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                           Dallas, Texas 75231
                           Tel: (972) 755-7100
                           Fax: (972) 755-7110

                           Counsel for Highland Capital Management, L.P.




                                    2
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  DEBTOR’S MOTION TO SUPPLEMENT THE RECORD ON APPEAL

      COMES NOW Highland Capital Management, L.P. (the “Debtor”), the debtor

and debtor-in-possession in the above-captioned chapter 11 case (the “Bankruptcy

Case”) and appellee in the above-captioned appeal (the “Appeal”), respectfully

submitting this Motion to Supplement the Record on Appeal (the “Motion”) seeking

an order of this Court authorizing the Clerk of this Court (the “Court Clerk”) to

accept from the clerk of the United States Bankruptcy Court for the Northern District

of Texas (the “Bankruptcy Court Clerk”) certain sealed documents (the “Sealed

Documents”) from the Bankruptcy Case designated by the Debtor as part of the

record on appeal (the “Record”) in this Appeal. In support of the Motion, the Debtor

respectfully states as follows:

                           FACTUAL BACKGROUND

      3.     On October 16, 2019 (the “Petition Date”), the Debtor commenced the

Bankruptcy Case under chapter 11 of title 11 of the United States Code (the

“Bankruptcy Code”) in the United States Bankruptcy Court for the District of

Delaware.

      4.     The Bankruptcy Case was transferred to the United States Bankruptcy

Court for the Northern District of Texas, Dallas Division (the “Bankruptcy Court”),

on December 4, 2019.




                                         3
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         5.      On January 22, 2020, the Bankruptcy Court entered that certain Agreed

Protective Order [Bankr. Docket No. 382]1 (the “Protective Order”)2 which “governs

any document, information, or other thing that has been or will be produced or received

by a party … in the [Bankruptcy Case.]” Protective Order at 1.

         6.      Pursuant to the terms of the Protective Order, information designated as

“Highly Confidential” may only be disclosed to the Bankruptcy Court if the

information is filed under seal pursuant to the procedures set forth in Rule 9077-1 of

the Local Bankruptcy Rules of the United States Bankruptcy Court for the Northern

District of Texas (the “Local Bankruptcy Rules”). See Protective Order ¶ 4.

         7.      On March 1, 2021, Highland Capital Management Fund Advisors, L.P.,

and NexPoint Advisors, L.P. (together, the “Advisors”), filed their Notice of Appeal

[Bankr. Docket No. 1957] appealing the Bankruptcy Court’s Order (i) Confirming the

Fifth Amended Plan of Reorganization of Highland Capital Management, L.P. (as

Modified); and (ii) Granting Related Relief [Bankr. Docket No. 1943] (the

“Confirmation Order”).

         8.      On March 3, 2021, Highland Income Fund, NexPoint Strategic

Opportunities Fund, Highland Global Allocation Fund, and NexPoint Capital, Inc.




1
    Refers to the docket maintained in the Bankruptcy Court.
2
 A true and correct copy of the Bankruptcy Court’s Protective Order is attached hereto as Exhibit
A.


                                                 4
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(collectively, the “Funds”) filed their Notice of Appeal [Bankr. Docket No. 1966]

appealing the Confirmation Order.

       9.     On March 4, 2021, James Dondero filed his Notice of Appeal [Bankr.

Docket No. 1970] appealing the Confirmation Order.

       10.    On March 4, 2021, The Dugaboy Investment Trust and the Get Good

Trust (together, the “Trusts”, and collectively with James Dondero, the Advisors, and

the Funds, the “Appellants”) filed their Notice of Appeal and Statement of Election

[Bankr. Docket No. 1972] appealing the Confirmation Order. On March 11, 2021, the

Trusts filed the Amended Notice of Appeal and Statement of Election [Bankr. Docket

No. 2014].

       11.    On March 16, 2021, the Bankruptcy Court entered an Order Certifying

Appeals of the Confirmation Order for Direct Appeal to the United States Court of

Appeals for the Fifth Circuit [Bankr. Docket No. 2034] (“Certification Order”).

       12.    On March 31, 2021, the Advisors filed their Petition for Permission to

Appeal (Direct Appeal from Bankruptcy Court, 28 U.S.C. § 158(d) [Case No. 21-

90011, Document 515803515] (the “Advisors’ Petition”).

       13.    On April 14, 2021, the Funds filed their Petition for Direct Appeal under

28 U.S.C. § 158(d) [Case No. 21-90011, Document 515826308] (the “Funds’

Petition”).




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       14.    On April 14, 2021, the Trusts filed their Petition for Direct Appeal under

28 U.S.C. § 158(d) [Case No. 21-90011, Document 515824511] (the “Trusts’

Petition”).

       15.    On April 15, 2021, James Dondero filed his Petition for Direct Appeal

under 28 U.S.C. § 158(d) [Case No. 21-90011, Document 515824443] (“Dondero’s

Petition,” and collectively, with the Advisors’ Petition, the Trusts’ Petition, and the

Funds’ Petition, the “Petitions”).

       16.    On April 2, 2021, the Debtor filed its Supplemental Designation of

Record on Appeal [Bankr. Docket Nos. 2155-57] (the “Debtor’s Record

Designations”).

       17.    On May 4, 2021, this Court entered an Order granting the Advisors’

Petition for direct appeal [Case No. 21-90011, Document 515847079], and on June 2,

2021, this Court entered an Order granting the remaining Appellants’ Petitions for

direct appeal [Case No. 21-90011, Document 515884578].

       18.    Included within the Debtor’s Record Designations are the Sealed

Documents, which are comprised of the following:

          DATE                      DOCKET NO.                      DESCRIPTION
 February 3, 2021              Debtor’s Second Amended       Highland CLO Funding
                               Witness and Exhibit List      Portfolio Management
                               with Respect to               Agreement [TO BE
                               Confirmation Hearing to       OFFERED UNDER SEAL]
                               Be Held on February 2,
                               2021 at Exhibit KKKK


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                          [Bankr. Docket No. 1877];
                          admitted into evidence at
                          February 3, 2021
                          Confirmation Hearing [see
                          Bankr. Docket No. 1915].


February 3, 2021          Debtor’s Second Amended     Highland CLO Funding
                          Witness and Exhibit List    Subscription and Transfer
                          with Respect to             Agreement [TO BE
                          Confirmation Hearing to     OFFERED UNDER SEAL]
                          Be Held on February 2,
                          2021 at Exhibit LLLL
                          [Bankr. Docket No. 1877];
                          admitted into evidence at
                          February 3, 2021
                          Confirmation Hearing [see
                          Bankr. Docket No. 1915].


February 3, 2021          Debtor’s Second Amended Highland CLO Funding
                          Witness and Exhibit List  Members Agreement [TO BE
                          with Respect to           OFFERED UNDER SEAL]
                          Confirmation Hearing to
                          be Held on February 2,
                          2021 at Exhibit IIII
                          [Bankr. Docket No. 1877];
                          admitted into evidence at
                          February 3, 2021
                          Confirmation Hearing [see
                          Docket No. 1915].

February 3, 2021          Debtor’s Second Amended     Highland CLO Funding
                          Witness and Exhibit List    Offering Memorandum [TO
                          with Respect to             BE OFFERED UNDER
                          Confirmation Hearing to     SEAL]
                          be Held on February 2,

                                     7
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                             2021 at Exhibit JJJJ
                             [Bankr. Docket No. 1877];
                             admitted into evidence at
                             February 3, 2021
                             Confirmation Hearing [see
                             Docket No. 1915].

February 3, 2021             Debtor’s Second Amended       Highland CLO Funding
                             Witness and Exhibit List      Articles of Incorporation; [TO
                             with Respect to               BE OFFERED UNDER
                             Confirmation Hearing to       SEAL]
                             be Held on February 2,
                             2021 at Exhibit HHHH
                             [Bankr. Docket No. 1877];
                             admitted into evidence at
                             February 3, 2021
                             Confirmation Hearing [see
                             Docket No. 1915].



                      ARGUMENT AND AUTHORITIES

      19.   Pursuant to Rule 8009(f) of the Federal Rules of Bankruptcy Procedure

(the “Bankruptcy Rules”):

      A document placed under seal by the bankruptcy court may be
      designated as part of the record on appeal. In doing so, a party must
      identify it without revealing confidential or secret information, but the
      bankruptcy court must not transmit it to the clerk of the court where the
      appeal is pending as party of the record. Instead, a party must file a
      motion with the court where the appeal is pending to accept the
      document under seal. If the motion is granted, the movant must notify
      the bankruptcy court of the ruling, and the bankruptcy clerk must




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      promptly transmit the sealed document to the clerk of the court where
      the appeal is pending.

FED. R. BANKR. PROC. 8009(f).

      20.    The Debtor has complied with the requirements of Bankruptcy Rule

8009(f) because (i) the Sealed Documents were placed under seal by the Bankruptcy

Court in accordance with the Protective Order, and (ii) the Sealed Documents were

identified in the Debtor’s Record Designations without revealing confidential

information. Accordingly, the Debtor seeks entry of an order accepting the Sealed

Documents under seal and directing the Bankruptcy Court Clerk to transmit the

Sealed Documents to the Court Clerk upon notification by the Debtor in accordance

with Bankruptcy Rule 8009(f).

      WHEREFORE, PREMISES CONSIDERED, the Debtor respectfully requests

that the Court enter an order (i) granting this Motion in its entirety; (ii) directing the

Bankruptcy Court Clerk to transmit the Sealed Documents to the Court Clerk and

authorizing the Court Clerk to accept the Sealed Documents under seal; and (iii)

granting the Debtor such further and additional relief as the Court deems just and

proper.




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Dated: July 2, 2021.               PACHULSKI STANG ZIEHL & JONES
                                   LLP

                                   Jeffrey N. Pomerantz (CA Bar No. 143717)
                                   John A. Morris (NY Bar No. 266326)
                                   Gregory V. Demo (NY Bar No. 5371992)
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                                   Los Angeles, CA 90067
                                   Telephone: (310) 277-6910
                                   Facsimile: (310) 201-0760
                                   Email: jpomerantz@pszjlaw.com
                                           jmorris@pszjlaw.com
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                                   -and-
                                   HAYWARD PLLC
                                   /s/ Zachery Z. Annable
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                                   MHayward@HaywardFirm.com
                                   Zachery Z. Annable
                                   Texas Bar No. 24053075
                                   ZAnnable@HaywardFirm.com
                                   10501 N. Central Expy, Ste. 106
                                   Dallas, Texas 75231
                                   Tel: (972) 755-7100
                                   Fax: (972) 755-7110
                                   Counsel for Appellee      Highland   Capital
                                   Management, L.P.




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                     CERTIFICATE OF CONFERENCE

    The undersigned hereby certifies that, on June 29, 2021 and June 30, 2021,

counsel for the Debtor corresponded with counsel for each of the Appellants

regarding the relief requested in the foregoing Motion. Counsel for each of the

Appellants advised counsel for the Debtor that they are UNOPPOSED to the relief

requested in the Motion.



                                       /s/ Zachery Z. Annable
                                      Zachery Z. Annable




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    CERTIFICATE OF COMPLIANCE WITH TYPE-VOLUME LIMIT

      This document complies with the type-volume limit of Federal Rule of

Appellate Procedure 27(d)(2)(A) because, excluding the parts of the document

exempted by Federal Rule of Appellate Procedure 32(f), this document contains

1,314 words.

      This document complies with the typeface and type-style requirements of

Federal Rule of Appellate Procedure 32(a)(5)-(6) because this document has been

prepared in a proportionally spaced typeface using Microsoft Word in 14-point font

size, and Roman type style.


                                            /s/ Zachery Z. Annable
                                            Zachery Z. Annable




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 Case: 21-10449    Document: 00515933141 Page: 13 Date Filed: 07/12/2021
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                          CERTIFICATE OF SERVICE

     I hereby certify that on July 2, 2021, I caused to be electronically filed the

foregoing document with the Clerk of Court for the United States Court of Appeals

for the Fifth Circuit using the electronic case filing system. The electronic case filing

system served the foregoing document upon those parties receiving the Court’s ECF-

email notification on July 2, 2021.

                                            /s/ Zachery Z. Annable
                                           Zachery Z. Annable




                                           13
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                             EXHIBIT A
      Case:
    Case     21-10449 Doc
         19-34054-sgj11 Document:  00515933141
                           382 Filed             Page:01/22/20
                                     01/22/20 Entered  15 Date    Filed: 07/12/2021
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The following constitutes the ruling of the court and has the force and effect therein described.



 Signed January 21, 2020
______________________________________________________________________




                              IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE NORTHERN DISTRICT OF TEXAS

         In re:                                                        )    Chapter 11
                                                                       )
         HIGHLAND CAPITAL MANAGEMENT, L.P., 1                          )    Case No. 19-34054 (SGJ)
                                                                       )
                                          Debtor.                      )


                                         AGREED PROTECTIVE ORDER

                  This Agreed Protective Order (the “Order”) governs any document, information, or other

     thing that has been or will be produced or received by a Party (as defined below) in the action In

     re Highland Capital Management, L.P., Case No. 19-34054 (SGJ) (the “Bankruptcy Case”),

     pending in the United States Bankruptcy Court for the Northern District of Texas (the “Court”)

     (collectively, the “Discovery Materials”).             Discovery Materials include, without limitation,

     testimony adduced at depositions; responses to interrogatories; responses to requests for admission

     (and documents produced in connection with such responses); and documents and things produced


     1
       The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
     address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.



     ACTIVE 253524293
  Case:
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                                                           09:16:48   Page 2 of 10
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voluntarily or in response to any type of request. “Party” or “Parties” means any person or entity

that (1) produces, (2) designates, (3) receives, formally or informally, or (4) reviews any Discovery

Materials designated as Confidential or Highly Confidential Information, as defined in this Order.

                                 TERMS OF AGREED ORDER

                   1.   Confidential Information. As used in this Order, “Confidential Information”

means all documents, data, reports, interpretations, forecasts, financial and business projections,

records, agreements, contracts, business plans, marketing materials and vendor agreements or

programs (whether in oral or written form, electronically stored, or otherwise) containing or

otherwise reflecting information provided by or on behalf of any Party or any of the Parties’

respective Representatives (as defined below) before, on, or after the date hereof, and all

reproductions of such information (whether in written form, electronically stored, or otherwise or

substantially derived from the information described above), that the producing Party reasonably

believes in good faith is confidential or sensitive proprietary, personal, commercial, financial, or

business information or that is otherwise subject to protection under a pre-existing agreement or

applicable law or regulation. Accordingly, for example, “Confidential Information” does not

include information that (a) is or becomes generally available to the public other than as a result

of disclosure by a Party or any of the Parties’ Representatives in breach of this Order; (b) was

lawfully within a Party’s possession prior to it being furnished to such Party in the Bankruptcy

Case; (c) becomes available to a Party from a source other than the producing Party or any of its

Representatives, provided that such source is not, to such receiving Party’s knowledge, bound by

a confidentiality agreement with, or other contractual, legal or fiduciary obligation of

confidentiality to, the producing Party with respect to such information; or (d) is independently

developed by a receiving Party without reference to or reliance upon any information furnished to

such receiving Party by or on behalf of the producing Party.

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                   2.   Use and Disclosure of Confidential Information. Subject to the terms of this

Order, each Party shall (i) keep the Confidential Information confidential in accordance with the

terms of this Order; (ii) not disclose any Confidential Information except in accordance with the

terms of this Order; (iii) not use any Confidential Information in any way other than in connection

with the Bankruptcy Case; and (iv) hold and treat all Confidential Information in confidence and

with the same degree of care that such Party exercises with regard to its own Confidential

Information; provided, however, that each Party may disclose any Confidential Information (A) to

any other Party subject to this Order; (B) counsel and other professionals retained by the Official

Committee of Unsecured Creditors of Highland Capital Management, L.P. (the “Committee,”);

(C) to any Representative of any Party other than the Committee, which is addressed in paragraph

2(iv)(B); (D) to the extent permitted pursuant to paragraph 9 below; (E) to the United States

Bankruptcy Court for the Northern District of Texas and its personnel; (F) the United States

Trustee for the Northern District of Texas (the “U.S. Trustee”); (G) any person who is indicated

on the face of a document or its related documents to have been an author, addressee or copy

recipient of such document, an actual or intended recipient of such document, or in the case of

meeting minutes, an attendee of the meeting; (H) for purposes of witness preparation, any deponent

or witness who was noticed for a deposition, or is on a witness list for hearing or trial, in preparation

for his or her noticed deposition, hearing, or trial testimony where such material is determined by

counsel in good faith to be necessary to the anticipated subject matter of testimony; (I) in the case

of a deposition, to any court reporter, stenographer, or videographer in attendance; and (J) in

response to a subpoena issued from another court or as otherwise required by law. For purposes

of this Order, “Representatives” means a Party’s parent(s), subsidiaries, affiliates, officers,




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directors, employees, contractors, attorneys (whether in-house or outside counsel), financial

advisors and other professionals engaged by the Party, or its agents and representatives.

                   3.   Highly Confidential Information.       A producing Party may designate

information that it reasonably believes in good faith is so personally, economically, or

competitively sensitive that (a) disclosure would materially affect or threaten injury to its personal,

commercial, or financial interests, and (b) the protections provided to Confidential Information in

this Order are insufficient, as being restricted Highly Confidential Information (the “Highly

Confidential Information”).

                   4.   Use and Disclosure of Highly Confidential Information.              Discovery

Materials designated as “Highly Confidential” may only be viewed by the people and entities

identified in paragraphs 2(iv) (B), (D), (E), (F), (G), (H) (I) or (J). Discovery Materials designated

as “Highly Confidential” may not otherwise be disclosed without the producing Party’s prior

written consent or further order of the Court. Highly Confidential Information may be disclosed

to the United States Bankruptcy Court for the Northern District of Texas and its personnel as long

as the information is filed under seal under the procedures set forth in L.B.R. 9077-1.

                   5.   Designating Confidential and Highly Confidential Information. Where

practicable, the producing Party may designate Discovery Materials as Confidential or Highly

Confidential by applying the legend “Confidential” or “Highly Confidential” to the Discovery

Materials. In the case of data stored in electronic form (“ESI”), the legend shall be printed on the

cover or container of the disk, tape or other medium in which the electronic data is produced and/or

on the ESI itself. If such measures are not practicable, the producing Party shall designate the

Discovery Materials as Confidential or Highly Confidential through other feasible means.




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     19-34054-sgj11 Document:  00515933141
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                   6.   Disputes Over Designation of Confidential Information. In the event that

any Party objects to any designation of Discovery Materials as Confidential Information (the

“Objecting Party”), the Objecting Party shall notify the producing or designating Party in writing,

stating the grounds of the objection. The producing or designating Party shall have ten (10)

business days following the receipt of an objection from the Objecting Party of any Confidential

Information designation to attempt to resolve the objection, at the end of which the Objecting Party

may seek a ruling from the Court by written notice and a motion and pursuant to the Court’s

individual rules and procedures that such information should not be treated as Confidential

Information. For the avoidance of doubt, the burden of establishing the Confidential nature of any

Discovery Materials shall be borne by the producing or designating Party.

                   7.   Disputes Over Designation of Highly Confidential Information. In the

event that any Party objects to any designation of Discovery Materials as Highly Confidential

Information, the Objecting Party shall notify the other producing or designating Party in writing,

stating the grounds of the objection. The producing or designating Party shall have five (5)

business days following receipt of an objection from the Objecting Party of any Highly

Confidential Information designation to attempt to resolve the objection, at the end of which, if

the dispute is not resolved, the producing or designating Party must seek a ruling from the Court

by written notice and a motion and pursuant to the Court’s individual rules and procedures that

such information should be treated as Highly Confidential Information. In the absence of such a

filing within five (5) business days from the receipt of the objection, the information will be

deemed Confidential Information (and not Highly Confidential Information) under this Order. For

the avoidance of doubt, the burden of establishing the Highly Confidential nature of any Discovery

Materials shall be borne by the producing or designating Party.



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                   8.   Depositions. During any deposition or interview, if counsel for any Party

reasonably believes that any answer to a question will result in the disclosure of Confidential

Information or Highly Confidential Information, counsel may require that all persons other than

those entitled to view the Confidential Information or Highly Confidential Information, as the case

may be, leave the room during the relevant portion of the deposition or interview. Any Party shall

have the right to designate on the record, or within ten (10) business days following receipt of the

final transcript of the deposition, any portion of the deposition transcript as Confidential

Information or Highly Confidential Information. Transcripts of testimony or portions thereof so

designated during the deposition may, at the option of any Party, be appropriately marked.

                   9.   Legally Required Disclosure. If any Party is requested or required (by oral

questions, interrogatories, requests for information or documents in legal proceedings, subpoena,

civil investigative demand or other similar process, or by applicable law or the rules or regulations

of any regulatory authority having jurisdiction over such Parties) to disclose in connection with a

matter that is not the Bankruptcy Case any of the Confidential Information or Highly Confidential

Information, such Party shall provide the Party that produced or designated such information with

prompt written notice of any such request or requirement so that the producing or designating Party

may seek a protective order or other remedy, and/or waive compliance with the provisions of this

Order. In the absence of a protective order or other remedy at the time of the deadline for the

production of the Confidential Information or Highly Confidential Information (including any

extensions of such deadline), the Party may, without liability hereunder, disclose that portion of

the Confidential Information or Highly Confidential Information which is legally required to be

disclosed.




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                   10.   Nothing herein shall prevent the U.S. Trustee from disclosing Discovery

Material for civil or criminal law enforcement purposes in compliance with a subpoena or court

order, or pursuant to any request under the Freedom of Information Act or other applicable law

requiring disclosure, subject to the U.S. Trustee providing prompt notice to the Producing Party as

described in Paragraph 9 above.

                   11.   No Waiver.     The failure to designate any Discovery Materials as

Confidential Information or Highly Confidential Information shall not constitute a waiver of such

claim. If at any time any of the Parties believes that certain testimony or some portion of Discovery

Materials that was previously produced should have been designated as Confidential Information

or Highly Confidential Information, that Party shall promptly notify all of the other Parties who

have received such testimony or Discovery Materials in writing, and such designated testimony or

portion of Discovery Materials will thereafter be treated as Confidential Information or Highly

Confidential Information under the terms of this Order. If such information has been disclosed by

a Party between the time of production or receipt of the transcript containing the testimony and the

time at which a Party gives notice that the Discovery Materials are to be designated as Confidential

Information or Highly Confidential Information, such disclosure shall not constitute a violation of

this Order.

                   12.   Claw Back of Inadvertently Produced Protected Materials. If Discovery

Materials protected from disclosure under Federal Rule of Civil Procedure 26(b)(5) (“Protected

Materials”) are inadvertently or mistakenly produced, such production shall in no way prejudice

or otherwise constitute a waiver of, or estoppel as to, any claim of privilege or work-product

immunity for such information or any other information that may be protected from disclosure by

the attorney-client privilege, the work-product immunity, or any other legally cognizable privilege



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or other protection. If the producing Party inadvertently or mistakenly produces Protected

Materials, upon written request by the producing Party after the discovery of such inadvertent or

mistaken production, the receiving Party shall use all commercially reasonable efforts to return or

destroy the Protected Materials and all copies of it, including any work product containing,

identifying, or referencing such information, and the receiving Party shall not use such information

for any purpose other than in connection with a motion to compel production of the information.

The Parties shall not use any inadvertently produced Protected Materials, or information gleaned

exclusively from any inadvertently produced Protected Materials, in connection with the

Bankruptcy Case, except to the extent that the inadvertently producing Party withdraws its

designation of the relevant material as Protected Materials or that the Court determines that the

relevant material was not properly designated as Protected Materials.

                   13.   No Bar Against Seeking Further Protection. Nothing in this Order shall be

construed as preventing any Party from seeking further protection for or disclosure of any

Discovery Material.

                   14.   No Admission Regarding Admissibility or Relevancy. Nothing in this

Order shall be construed to affect in any way the admissibility or relevance of any Discovery

Material or other evidence.

                   15.   No Bar to Use of Party’s Own Discovery Material. This Order shall have

no effect on, and shall not apply to, a producing Party’s use or disclosure of its own Discovery

Material for any purposes whatsoever.

                   16.   Conclusion of Litigation and Return of Confidential Information. Within

sixty (60) calendar days after final judgment in this action, including the exhaustion of all appeals,

or within sixty (60) calendar days after dismissal pursuant to a settlement agreement, each Party



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or other person subject to the terms of this Protective Order is under an obligation to destroy or

return to the producing Party all materials and documents containing Confidential Information or

Highly Confidential Information, and to certify to the producing Party that this destruction or

return has been done. However, outside counsel for any Party is entitled to retain all court papers,

trial transcripts, exhibits, and attorney work product provided that any such materials are

maintained and protected in accordance with the terms of this Agreed Protective Order.

                   17.   No Third-Party Beneficiaries. No Third-Party Beneficiaries. There are no

third-party beneficiaries to this Order. For the avoidance of doubt, this provision precludes non-

Debtor affiliates, and their Representatives, including any entity affiliated with, owned by, or

controlled in any way, directly or indirectly, by James Dondero and his affiliates (the “Dondero

Parties”) from seeking to enforce or rely on this Order in any way, unless any of the Dondero

Parties is asked (formally or informally) to produce or receive Discovery Materials thereby

becoming a "Party" as defined herein. The Dondero Parties are subject to the exclusive jurisdiction

of this Court. Nothing in this order shall be deemed to limit third parties (other than the Dondero

Parties) who receive a subpoena issued by the Court from seeking to quash or modify that subpoena

in the court for the district where compliance is required pursuant to FRCP 45(d).

                   18.   Exclusive Jurisdiction. This Court retains exclusive jurisdiction for matters

arising from or related to this Order, including but not limited to after confirmation of any plan of

reorganization or conversion of this Bankruptcy Case. The Court further reserves the right to

amend this Order upon a motion of any party in interest after notice and a hearing.

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 Dated: January 21, 2020


 Respectfully submitted,

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                                    ### End of Order ###



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